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       EXHIBIT B
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                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF TEXAS
                                                   TYLER DIVISION
                                      __________________________________________

              TEXAS MEDICAL ASSOCIATION, et al.,                   )
                                                                   )
                                   Plaintiffs,                     )
                                                                   )
              v.                                                   )
                                                                   )
              UNITED STATES DEPARTMENT OF                          )
              HEALTH AND HUMAN SERVICES, et al.,                   )
                                                                   ) Case No.: 6:22-cv-00372-JDK
                                  Defendants.                      )
                                                                   ) Lead Consolidated Case
                                                                   )
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                                                                   )


                                         DECLARATION OF DR. ADAM CORLEY

                     I, Dr. Adam Corley, solemnly declare under penalty of perjury and to the best

             of my knowledge, information, and belief as follows:

                    1.        I am over 18 years of age and with capacity, and I provide this declaration based

             on my personal knowledge.

                    2.        I am an emergency room physician who resides and practices in Tyler, Texas.

                    3.        I work through Precision Emergency Physicians, PLLC and Banner State

             Emergency Physicians.

                    4.        The majority of my patients are insured by commercial plans. I treat patients who

             receive services covered by the No Surprises Act’s (“NSA”) rules for out-of-network

             reimbursement, including the NSA’s balance billing prohibition.




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                    5.        Some of the out-of-network services that I provide qualify as “emergency

             services” covered under the NSA. I am reimbursed at an hourly rate for my emergency medical

             services.

                    6.        I also own a percentage of Hospitality Health ER (“Hospitality Health”), a

             freestanding emergency department in Tyler, Texas.

                    7.        Some patients who receive medical treatment at Hospitality Health are covered by

             commercial plans. Hospitality Health treats patients who receive services covered by the NSA’s

             rules for out-of-network reimbursement.

                    8.        I prefer to be in-network with health insurers where possible, but insurance

             companies do not always offer opportunities to be in-network or to negotiate network

             agreements with me in good faith.

                    9.        Since the NSA went into effect on January 1, 2021, both I and Hospitality Health

             have furnished out-of-network services that are subject to reimbursement through the NSA’s

             IDR process, and I expect that we will both continue to do so.

                    10.       Claims for my services that are subject to the NSA’s rules for out-of-network

             reimbursement have been submitted through the NSA’s Open Negotiation and IDR processes.

             Hospitality Health has also submitted claims for its emergency services through the NSA’s Open

             Negotiation and IDR processes.

                    11.       In my experience and through conversations with others who work with the

             NSA’s Open Negotiation and IDR processes on behalf of Hospitality Health and myself, Open

             Negotiation has rarely resulted in out-of-network insurers offering reasonable reimbursement

             rates that are consistent with the reimbursement rates they were willing to pay before the NSA

             went into effect. As a result, it has been necessary to use IDR to attempt to obtain a reasonable



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             reimbursement rate. I expect that claims for my services and emergency services furnished at

             Hospitality Health will continue to be submitted through the NSA’s IDR process.

                    12.       The IDR bids for my services and emergency services furnished at Hospitality

             Health are generally higher than the relevant QPA, which is much lower than a reasonable

             reimbursement rate for the provided services. Indeed, the QPA will often be well below the true

             median contracted rate as paid out in the market where I work and where Hospitality Health is

             located: Tyler, Texas. The Departments, in fact, recently acknowledged1 that QPAs can

             materially differ from relevant median market rates, as a result of insurers inappropriately

             including rates from physicians in different specialties, or even $0 rates listed in fee schedules.

                    13.       Furthermore, QPAs often do not accurately reflect the costs I or Hospitality

             Health incur in providing medical services, including because of geographic disparities,

             differences in provider training, and differences in patient and case complexity.

                    14.       The bids submitted by insurers as part of the NSA’s IDR process are generally

             tethered to the relevant QPA and thus are lower and closer to the relevant QPA than the bids for

             my services or Hospitality Health’s services.

                    15.       Because the Final Rule privileges the QPA during the IDR process, it incentivizes

             insurers to offer nothing more than the QPA during Open Negotiation, and furthermore to

             execute terminations, non-renewals, and renewals at 50% or less of their previous rates, as it will

             be significantly cheaper for insurers to reimburse providers under the NSA’s out-of-network

             reimbursement rules than it will be to contract and offer reasonable network rates. Many




             1
              DEP’TS, FAQs about Affordable Care Act and Consolidated Appropriations Act, 2021
             Implementation Part 55 at FAQ 14 (Aug. 19, 2022), available at
             https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-center/faqs/aca-
             part-55.pdf.
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             practices will become insolvent. The ultimate results will be less competition, more

             consolidation, fewer independent physician practices, decreased quality of care, and diminished

             access to care for Texas patients.

                    16.       Privileging the QPA will make it more difficult for my or Hospitality Health’s

             bids to be chosen, in comparison with a process in which the IDR entities can freely consider all

             statutory factors without favoring any particular factor. As such, privileging the QPA will

             pressure me and Hospitality Health to lower our bids towards the relevant QPA, which is often

             much lower than a reasonable reimbursement rate. Driving out-of-network reimbursement rates

             to the QPA will result in the systematic reduction of out-of-network reimbursement for me and

             Hospitality Health, compared to an IDR process that does not privilege the QPA.

                    17.       Lower reimbursement rates for my and Hospitality Health’s services will decrease

             my compensation.

                    18.       In this way, privileging the QPA directly harms my financial interests.

             Pursuant to the requirements of 28 U.S.C. section 1746, I declare under penalty of perjury that
             the foregoing is true and correct to the best of my knowledge and belief.

             Executed on:
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             __________                                                    __________
                                                                           Dr. Adam Corley




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